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                                           No. 15-225C

                                       (Filed: July 31, 2015)

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                                                  *                     FILED
ALTON J. GAINES, JR.,                             *
                                                  *                    JUL 3 I 2015
                          Plaintiff,              *
                                                  *                  U.S. COURT OF
                                                                    FEDERAL CLAIMS
v.                                                *
                                                  *
THE UNITED STATES,                                *
                                                  *
                          Defendant.              *
                                                  *
*************************************
Alton J. Gaines, Jr., Denver, Colorado, pro se Plaintiff.

Shari A. Rose, with whom were Benjamin C. Mizer, Principal Deputy Assistant Attorney
General, Robert E. Kirschman, Jr., Director, and Allison Kidd-Miller, Assistant Director,
Commercial Litigation Branch, Civil Division, U.S. Department of Justice, Washington,
D.C., for Defendant.

                                  OPINION AND ORDER

WHEELER, Judge.

       On March 3, 2015, prose Plaintiff, Alton J. Gaines, Jr., filed a document entitled
"Multi-Purpose Application for Proposal," which was docketed as a complaint.
Consecutive sections of this document were entitled "Proper Remedial Restorative Action
Requisition Order," "Request for Proposal," and "Statement of Purpose for Funding." As
the complaint does not reference a contract between Mr. Gaines and the United States or
any Federal statute or regulation, it appears from the document filed that Mr. Gaines is
seeking some sort of financial investment from the Federal Government.

       The Government filed a motion to dismiss Mr. Gaines's complaint on April 5, 2015
for lack of subject matter jurisdiction and, alternatively, for failure to state a claim upon
which relief can be granted. Rule 12(b)(l); Rule 12(b)(6). The Government argues that
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Mr. Gaines does not allege any facts which suggest that he is statutorily or contractually
entitled to monetary relief from the United States, and thus the Court lacks subject matter
jurisdiction over his claims. In the alternative, the Government contends that Mr. Gaines
has failed to state a claim upon which relief can be granted because the complaint does not
allege any wrongful conduct by the United States. Mr. Gaines's response to the
Government's motion, filed on July 14, 2015, provides no further clarity in establishing
jurisdiction, or providing a source of law that would entitle him to relief in this Court.

        The Court finds it difficult to ascertain what, if any, claims Mr. Gaines has against
the United States and accordingly must dismiss for lack of subject matter jurisdiction and
for failure to state a claim upon which relief can be granted. Mr. Gaines has not alleged
any specific misconduct by the United States, and has not explicitly requested monetary
damages from the Federal Government. While the Court acknowledges Mr. Gaines's pro
se status as providing some leeway in pleadings, Mr. Gaines cites to no statute, regulation,
or constitutional provision that would provide the Court with jurisdiction over his
complaint and therefore the Court cannot proceed with Mr. Gaines's claim.

                                      Standard of Review

        When considering a motion to dismiss for lack of subject matter jurisdiction
pursuant to Rule 12(b)(l), which provides that "a party may assert ... by motion" the
defense of "lack of subject-matter jurisdiction," the Court "accepts as true all
uncontroverted factual allegations in the complaint, and construes them in the light most
favorable to the plaintiff." Estes Express Lines v. United States, 739 F.3d 689, 692 (Fed.
Cir. 2014 ). While pro se litigants are generally held to a lower standard in their pleadings
and in establishing subject matter jurisdiction, see Hughes v. Rowe, 449 U.S. 5, 9 (1980),
the pro se plaintiff nonetheless must allege facts sufficient to prove subject matter
jurisdiction by a preponderance of the evidence, Reynolds v. Army & Air Force Exch.
Serv., 846 F.2d 746, 748 (Fed. Cir. 1988); Estes Express Lines, 739 F.3d at 692.

       To overcome a Rule 12(b)(6) motion, which provides that a party may assert by
motion a defense of "failure to state a claim upon which relief can be granted," plaintiffs
must assert "sufficient factual matter, accepted as true, to 'state a claim to relief that is
plausible on its face."' Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atlantic Com. v.
Twombly, 550 U.S. 544, 555-63, 570 (2007). A claim is plausible on its face when "the
plaintiff pleads factual content that allows the court to draw the reasonable inference that
the defendant is liable for the misconduct alleged." Aschroft, 556 U.S. at 678. The Court
may grant a motion to dismiss under Rule 12(b)(6) "only when it is beyond doubt that the
plaintiff can prove no set of facts in support of his claim [that] would entitle[] him to relief."
Fireman v. United States, 44 Fed. Cl. 528, 537 (1999) (quoting Ponder v. United States,
117 F.3d 549, 552-53 (Fed. Cir. 1997)).

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                                          Discussion
       I.     Lack of Jurisdiction

       Pursuant to the Tucker Act, 28 U.S.C. § 1491, an action may be maintained in this
Court only if it is "founded either upon the Constitution, or any Act of Congress or any
regulation of an executive department, or upon any express or implied contract with the
United States, or for liquidated or unliquidated damages in cases not sounding in tort." 28
U.S.C. § 149l(a). The Tucker Act does not, however, create any substantive rights
enforceable against the United States for money damages. See United States v. Testan,
424 U.S. 392, 398 (1976). Thus, Mr. Gaines's complaint must provide some basis, such
as a statute or contract, which would entitle him to compensation from the Federal
Government ifhe is to establishjurisdiction in this Court.

        The Government correctly points out that Mr. Gaines has not alleged facts sufficient
to establish the Court's jurisdiction. He has failed to cite to any statute, regulation, or
contract with the Federal Government which would entitle him to compensation. Transfer
of the case to another court would also be inappropriate, as Mr. Gaines's complaint does
not set forth any cause of action that might be entertained by another court. See 28 U.S.C.
§ 1631 ("the court shall ... transfer [a case over which it lacks jurisdiction] ... to any other
court in which the [case] could have been brought at the time it was filed or noticed.")
(emphasis added). Because the Court is unable to ascertain any theory of liability within
the Court's jurisdiction, the claim must necessarily be dismissed.

       II.    Failure to State a Claim Upon Which Relief May Be Granted

        The Government also argues in the alternative that the Court should dismiss Mr.
Gaines's complaint for failure to state a claim upon which relief may be granted, under
Rule 12(b)(6). The Government contends that the complaint does not "contain sufficient
factual matter ... to state a claim to relief' against the United States "that is plausible on
its face." Ashcroft, 556 U.S. at 678.

       Mr. Gaines failed to include any clear allegation of wrongful conduct against the
United States in his complaint that is actionable in court. Because there is no indication of
any basis upon which Mr. Gaines would be entitled to compensation from the Government,
dismissal of the claim pursuant to Rule l 2(b )( 6) is appropriate.




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                                       Conclusion

        Accordingly, this case is DISMISSED for lack of subject matter jurisdiction and for
failure to state a claim upon which relief may be granted, pursuant to Rules 12(b)(1) and
12(b)(6).

      IT IS SO ORDERED.


                                                       THOMAS C. WHEELER
                                                       Judge




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